Case 2:05-cr-20047-.]DB Document 30 Filed 08/19/05 Page 1 of 2 Page|D 26

 

IN THE UNITED sTATEs DISTRICT coURT F"-ED BY -1 n D.c_
FOR THE wEsTERN DISTRICT oF TENNESSEE
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n'iOM-'S S¢_(`F, ,(}L;LD
UNITED STATES oF AMERICA, QHUL$ ;WWCT
t!&}/D g ir J",\,'A_,L;H!S
Plaintiff,
v. 05-20268-3

/05-20047-B

CHARLES FRANKLIN GRUBB,

Defendant.

 

ORDER FOR UNITED STATES MARSHAL
TO PROVIDE TRANSPORTATION

 

This cause having come before this Court on the 18 m day of
August, 2005 upon the petition of the defendant, pursuant to 18
U.S.C. §4285, for transportation and subsistence from Killeen,
Texas to Memphis, Tennessee for a Report Date in court on Monday,
August 29, 2005 at 9:30 a.m.

IT IS ORDERED, ADJUDGED AND DECREED that the United States
Marshal shall provide, to defendant Charles Franklin Grubb,

transportation and per diem for subsistence from Killeen, Texas to

Memphis, Tennessee.

 

H BLE J. DANIEL`BRE§§
ITE sTATEs DISTRICT Co RT JUDGE
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DATE "

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with Rula 55 andlor 32(b) FHCrP on -#

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 30 in
case 2:05-CR-20047 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

